       Case 1:23-cv-10359-JPC-GWG Document 16 Filed 04/22/24 Page 1 of 3



                              BREDHOFF & KAISER, P.L.L.C.
Bruce R. Lerner                                                                             Ernest Zhu
                                       Attorneys & Counselors
Andrew D. Roth                                                                   Faaris (Fares) Akremi
Anne Ronnel Mayerson            805 Fifteenth Street NW – Suite 1000                 Cole D. Hanzlicek
Leon Dayan                             Washington, D.C. 20005                            Kara A. Naseef
Robert Alexander                         (202) 842-2600 TEL                              Ian J. Postman
Matthew Clash-Drexler                                                                    Derrick C. Rice
                                         (202) 842-1888 FAX
Abigail V. Carter                                                                   Brooke E. Priestas
Kathleen Keller                          www.bredhoff.com                                  Grace Rybak
Joshua B. Shiffrin                                                                    Lane M. Shadgett
Jenifer A. Cromwell                                                                            ——————
Ramya Ravindran                                                                           Roger Pollak
Jacob Karabell                                                                     Richard F. Griffin, Jr.
Caitlin Kekacs                             Elliot Bredhoff                              Linda A. Elliott
                                             (1921 – 2004)
Adam Bellotti                                                                       Deedee Fitzpatrick
                                            Henry Kaiser
Joshua A. Segal                              (1911 - 1989)                               Tzvi Mackson
Elisabeth Oppenheimer                                                                           Of Counsel
                                                                                               ——————
                                                                                       Benjamin I. Love
                                                                                                Staff Counsel
                                                                                               ——————
                                                                                   Robert M. Weinberg
                                                                                      Julia Penny Clark
                                                                                    Jeremiah A. Collins
                                                                                            Mady Gilson
                                                                                           John M. West
                                          April 22, 2024                                      Senior Counsel




VIA ECF
Hon. Gabriel W. Gorenstein
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

        Re:      Cohen v. Action Squared et al., No. 23-CV-10359 (JPC) (GWG)

Dear Judge Gorenstein:

        On April 18, 2024, Plaintiff Josh Cohen filed a Motion for Leave to Amend His First
Amended Complaint (“FAC”). ECF No. 15. Mr. Cohen did not first file a letter requesting a pre-
motion conference as required by this Court’s individual practices. See Individual Practices of
Magistrate Judge Gabriel W. Gorenstein (June 17, 2021), at ¶ 2.A. Nonetheless, recognizing that
Plaintiff is pro se, Defendant Action Squared (the only defendant Mr. Cohen has thus far
attempted to serve) will construe Mr. Cohen’s motion as a pre-motion letter and respond to it as
such.

        1. Case Background

       The original complaint in this matter was filed on November 23, 2023. Action Squared
was served with the summons and complaint on March 20, 2024, and then served with the 400-
page FAC on April 5. Its current deadline to respond to the FAC is June 18. Although Action
Squared is still analyzing the allegations of the FAC, Action Squared expects that it will in due
        Case 1:23-cv-10359-JPC-GWG Document 16 Filed 04/22/24 Page 2 of 3

April 22, 2024
Page 2

course request a pre-motion conference regarding an anticipated motion to dismiss the FAC on
grounds including but not limited to failure to state a claim upon which relief can be granted.

         2. Mr. Cohen’s Motion for Leave to Amend His FAC

        As a general matter, leave to amend a complaint should be “freely give[n] ... when justice
so requires.” Fed. R. Civ. P. 15(a)(2). That general rule, however, has its limits. For instance,
“leave need not be granted in cases of ‘futility of amendment.’” Meyer v. Seidel, 89 F.4th 117,
140 (2d Cir. 2023) (quoting Foman v. Davis, 371 U.S. 178, 182 (1962)). “Futility is a
determination, as a matter of law, that proposed amendments would fail to cure prior
deficiencies” in the complaint, “or to state a claim under Rule 12(b)(6) of the Federal Rules of
Civil Procedure.” In re Trib. Co. Fraudulent Conv. Litig., 10 F.4th 147, 175 (2d Cir. 2021)
(quoting Empire Merchs., LLC v. Reliable Churchill LLLP, 902 F.3d 132, 139 (2d Cir. 2018)).

        Here, Mr. Cohen appears to seek leave to file a Second Amended Complaint (“SAC”) so
that he can (1) add an unspecified number of defendants to his existing civil RICO claim, and (2)
add a new claim—again, against unspecified defendants—under the Sherman Antitrust Act. Id.
¶ 4. Mr. Cohen does not request leave to make any new factual allegations. Rather, he
emphasizes that his new claims “arise from” the same facts and claims that are described in the
FAC. Id. ¶¶ 4, 10. Mr. Cohen did not submit a proposed SAC with his Motion for Leave to
Amend. 1

         Action Squared expects to oppose Mr. Cohen’s Motion for Leave to Amend on grounds
of futility. First, with respect to Mr. Cohen’s proposed amendments to his RICO claim, Action
Squared anticipates arguing that Mr. Cohen’s RICO claim must be dismissed for both procedural
and substantive reasons. Considering that Mr. Cohen has committed to relying on the facts
already alleged in the FAC, if his claim falters on basic grounds like timeliness and/or failure to
plead the required elements of a RICO claim, bringing additional parties into the case would not
change that outcome. See Fantozzi v. City of New York, 343 F.R.D. 19, 33 (S.D.N.Y. 2022)
(statute of limitations); Corley v. Vance, 365 F. Supp. 3d 407, 463 (S.D.N.Y. 2019) (failure to
state a claim).

       Second, Mr. Cohen’s proposed claim under the Sherman Act is futile because—even
assuming that some combination of individuals in what Mr. Cohen describes as the “political
microtargeting systems market” 2 engaged in conduct that “created barriers to entry for
competitors, increased switching costs for customers, and made it more difficult for primary
challengers and disfavored candidates for election to compete fairly in primary elections,” ECF


1
 If the Court permits Mr. Cohen to file a formal Motion for Leave to Amend His FAC, Action
Squared requests that Mr. Cohen also be ordered to file with his motion (1) a clean copy of the
proposed Second Amended Complaint (“SAC”), and (2) a red-line version that shows the
differences between the FAC and the proposed SAC.
2
    Action Squared does not concede the existence of any such market.
      Case 1:23-cv-10359-JPC-GWG Document 16 Filed 04/22/24 Page 3 of 3

April 22, 2024
Page 3

No. 15, at ¶ 4.b—Mr. Cohen lacks antitrust standing to bring such a claim as an individual
plaintiff. See, e.g., Gatt Commc’ns, Inc. v. PMC Assocs., L.L.C., 711 F.3d 68, 76 (2d Cir. 2013).

       3.        Action Squared’s Request for Deferral of Briefing Schedule on Mr. Cohen’s
                 Motion for Leave to Amend

        Action Squared will develop the above arguments more fully in due course, but it is
apparent that there will be significant factual and legal overlap between Action Squared’s
anticipated Motion to Dismiss the FAC and its Opposition to Mr. Cohen’s Motion for Leave to
Amend.

         To avoid redundant briefing and allow the other defendants named in the FAC the
opportunity to weigh in, Action Squared respectfully requests the Court defer setting a briefing
schedule on Mr. Cohen’s Motion for Leave to Amend at this time. Instead, when Action Squared
files its pre-motion letter regarding its anticipated motion to dismiss, Action Squared will confer
with all parties who have appeared as of that time and propose an appropriate briefing schedule
on both the anticipated motion to dismiss and Mr. Cohen’s Motion for Leave to Amend that will
allow both motions to be briefed together. Action Squared is available for a telephonic pre-
motion conference if the Court deems it necessary, to be scheduled at the Court’s convenience.

                                             Respectfully submitted,

                                             /s/ Caitlin Kekacs
                                             Caitlin Kekacs

                                             Counsel for Action Squared

cc: Plaintiff (via ECF)
